Case: 1:17-md-02804-DAP Doc #: 274-1 Filed: 04/25/18 1of1. PagelD #: 1308

AO 398 (Rev. 01/09) Notice of a Lawsuit and Request to Waive Service of a Summons - MODIFIED

UNITED STATES DISTRICT COURT

for the
Northern District of Ohio
)
Plaintiff )
v. ) Civil Action No.
)
Defendant )

NOTICE OF A LAWSUIT AND REQUEST TO WAIVE SERVICE OF A SUMMONS

To: Walgreen Eastern Co., Inc. c/o Kaspar J. Stoffelmayr (Opioids-MDL-Walgreens-Service@bbhps.com)

(Name of the defendant or - if the defendant is a corporation, partnership, or association - an officer or agent authorized to receive service)

Why are you getting this?

A lawsuit has been filed against you, or the entity you represent, in this court under the number shown above.
A copy of the complaint is attached.

This is not a summons, or an official notice from the court. It is a request that, to avoid expenses, you waive formal
service of a summons by signing and returning the enclosed waiver. To avoid these expenses, you must return the signed

waiver within days (give at least 30 days, or at least 60 days if the defendant is outside any judicial district of the United States)

from the date shown below, which is the date this notice was sent. Two copies of the waiver form are enclosed, along with
a stamped, self-addressed envelope or other prepaid means for returning one copy. You may keep the other copy.

What happens next?
If you return the signed waiver, I will file it with the court. The action will then proceed as if you had been served
on the date the waiver is filed, but no summons will be served on you. You are not required to answer the complaint or

otherwise respond until further order of the Court.

If you do not return the signed waiver within the time indicated, I will arrange to have the summons and complaint
served on you. And I will ask the court to require you, or the entity you represent, to pay the expenses of making service.

Please read the enclosed statement about the duty to avoid unnecessary expenses.

I certify that this request is being sent to you on the date below.

Date:

Signature of the attorney or unrepresented party

Printed name

Address

E-mail address

Telephone number
